            18-23538-rdd               Doc 5683-1              Filed 11/07/19 Entered 11/07/19 17:25:36                 Exhibit A
                                                                        Pg 1 of 1
                                                                    2600 Eagan Woods Dr, Suite 400              151 West 46th Street, 4th Floor
                                                                    St. Paul, MN 55121                                   New York, NY 10036
                                                                    651-406-9665                                               212-267-7342

Defendant:                   Fragomen, Del Rey, Bernsen & Loewy, LLP
Bankruptcy Case:             Sears Holdings Corporation, et al.
Preference Period:           Jul 17, 2018 - Oct 15, 2018
                                                         Transfers During Preference Period

                        Debtor(s) Incurring
Debtor Transferor(s)     Antecedent Debt      Check Number        Check Amt      Clear Date    Invoice Number      Invoice Date      Invoice Amt
Kmart Holding              Kmart Holding           781008893      $17,245.37     9/18/2018       1870864443         6/30/2018          $2,943.50
Corporation                 Corporation
Kmart Holding              Kmart Holding           781008893      $17,245.37     9/18/2018       1870864437         6/30/2018          $8,535.50
Corporation                 Corporation
Kmart Holding              Kmart Holding           781008893      $17,245.37     9/18/2018       1870864435         6/30/2018          $5,404.50
Corporation                 Corporation
Kmart Holding              Kmart Holding           781008893      $17,245.37     9/18/2018       1870850560         6/30/2018           $361.87
Corporation                 Corporation

       Totals:         1 transfer(s), $17,245.37




Fragomen, Del Rey, Bernsen & Loewy, LLP (2191285)
Bankruptcy Case: Sears Holdings Corporation, et al.
Nov 4, 2019                                                             Exhibit A                                                       P. 1
